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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION



UNITED STATES,
      Plaintiff,
v.                                                  No. 23-20191
DEMETRIUS HALEY,
      Defendant.



     MOTION TO EXCLUDE ANY OPINIONS PURSUANT TO FRE 702,703,705



      Comes now the defendant, Demetrius Haley, by and through his

counsel of record, Michael J. Stengel, Esq., and moves this court

to prohibit the government from seeking to introduce any opinion

testimony pursuant to Fed. R. Evid. 702, 703, or 705. In support

thereof, Mr. Haley would show:


      1. Mr. Haley requested discovery from the government on

September 14, 2023. The request sought, in pertinent part, “all

items   discoverable   in   accordance   with   subparagraphs     (a)(1)(A)

through (G) [of Rule 16] inclusive”. (R. 16, Haley’s Discovery

Request).


      2. The government responded, in pertinent part:


As to Rule 16(a)(1)(G), the United States does not at this time
intend to introduce any expert testimony as defined by the Federal
Rules. We will advise you should that change and provide the
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appropriate information to you. (R. 47, U.S. Discovery Response,
¶ 5).
     3. In addition to the scheduling order entered, R. 51, the

local rules govern the timing of disclosures, specific addressing

Rule 16 (a)(1)(G) and opinion evidence. L. Crim. R. 16.1(b), (c).


     4. The rules clearly provide that, when the government intends

to introduce opinions pursuant to Rules 702, 703, or 705, upon

request, Rule 16(a)(1)(G) requires disclosure of a summary which

must describe the witness’s opinions, qualifications, and bases

and reasons for the opinions. This should “cover not only written

and oral reports, and investigations, but any information that

might be recognized as a legitimate basis for an opinion under

Federal Rule of Evidence 703, including opinions of other experts.”

United States v. Romano, 2022 WL 3097514, *2 (S.D. Ohio, E.D. 2022)

citing United States v. Davis, 514 F.3d 596, 611-12 (6th Cir. 2008).


     5.   The     timing   of   disclosure   is   critical   to    effective

preparation and presentation of Mr. Haley’s defense. After all,

opinion testimony is, by its very definition, not within the

purview of a layman’s knowledge. Counsel needs time to evaluate

any opinion disclosed, likely be required to retain a consultant

with the same or similar background as the proposed witness to

review the opinion, and determine whether a defense opinion witness

is a necessary part of his case. In addition, timely disclosure

would   promote    adherence    to   the   scheduling   order     and   enable
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sufficient time for any pre-trial hearing necessitated by a Daubert

motion challenging any such proposed opinion testimony.


     6.   The   court     should    accept   the    government’s     explicit

statement that it doesn’t intend to introduce any expert testimony,

as defined by the Federal Rules, at face value and prohibit it

from introducing any opinions pursuant to Fed. R. Evid. 702, 703,

or 705 including, but not limited to, an opinion on the alleged

unreasonableness of any force used against Tyre Nichols, whether

any alleged force used against Tyre Nichols resulted in bodily

injury,   whether   any   alleged    force   used   against   Tyre    Nichols

resulted in his death, the cause of Tyre Nichols’ death, toxicology

test results, and DNA test results.


     7. In accordance with L.Crim.R. 12.1(a), the undersigned has

consulted with the United States and learned that it objects to

this motion being granted.


     WHEREFORE, PREMISES CONSIDERED, Mr. Haley prays this court

grant his motion and prohibit the United States from seeking to

introduce any evidence pursuant to Fed. R. Evid. 702, 703, or 705

against him in light of its explicit statement prior to the

discovery deadline that it didn’t intend to introduce any such

testimony.
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                                        Respectfully submitted,

                                        S/Michael J. Stengel
                                        _________________________
                                        Michael J. Stengel (12260)
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                                        Memphis, TN 38104
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                        Certificate of Service

     I hereby certify that I have served a copy of the foregoing
Motion to Exclude Opinion Testimony by electronic means, via the
Court’s electronic filing system, on AUSA’s David Pritchard, Libby
Rogers, Kathryn Gilbert, and Forrest Christian this 6th day of
November, 2023.



                                        S/Michael J. Stengel
